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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    Designated Counsel for Service
     801 I Street, 3rd Floor
3    Sacramento, California 95814
     Telephone (916) 498-5700
4
5    Attorney for Defendant
     JESUS HUERTA
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )     No. CR-S-05-447 GEB
                                      )
12                    Plaintiff,      )     STIPULATION AND [PROPOSED]
                                      )     ORDER CONTINUING STATUS
13          v.                        )     CONFERENCE AND EXCLUDING TIME
                                      )
14   JESUS HUERTA, et al.,            )
                                      )     Date: January 19, 2007
15                    Defendants.     )     Time: 9:00 a.m.
                                      )     Judge: Garland E. Burrell, Jr.
16                                    )
17
18           It is hereby stipulated between the parties, Matthew Stegman,
19   Assistant United States Attorney, attorney for Plaintiff; Timothy E.
20   Warriner, attorney for defendant, ROSA ISELA HUERTA; and Daniel J.
21   Broderick, attorney for defendant, JESUS HUERTA, that the status
22   conference presently scheduled for December 1, 2006 be vacated and a
23   new status conference hearing date of January 19, 2007 at 9:00 a.m. be
24   set.
25          The parties continue evaluating additional information provided by
26   the defendants with ongoing discussions regarding resolution.           Factual
27   investigation of the case continues that may bear on the resolution.
28   Once all these tasks are completed, the defense will need time to
              Case 2:05-cr-00447-GEB Document 53 Filed 12/01/06 Page 2 of 3


1    review a final plea agreement.
2          The parties, through their respective counsel, hereby stipulate
3    and agree that the status conference currently scheduled for
4    December 1, 2006 be continued until January 19, 2007 at 9:00 a.m.
5          The parties further stipulate and agree that the time period
6    between December 1, 2006 and January 19, 2007 be excluded under the
7    Speedy Trial Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due
8    to the need to provide defense counsel with the reasonable time to
9    prepare.
10   Dated: November 30, 2006
11                                             Respectfully submitted,
12
                                               /s/ Daniel J. Broderick
13                                             ________________________________
                                               DANIEL J. BRODERICK
14                                             Federal Defender
                                               Attorney for Defendant
15                                             JESUS HUERTA
16
                                               /s/ Daniel J. Broderick for
17                                             ________________________________
                                               TIMOTHY E. WARRINER, ESQ.
18                                             Attorney for Defendant
                                               ROSA ISELA HUERTA
19
20   Dated:    November 30, 2006               MCGREGOR W. SCOTT
                                               United States Attorney
21
22                                             /s/ Daniel J. Broderick for
                                               _________________________________
23                                             MATTHEW STEGMAN
                                               Assistant U.S. Attorney
24                                             Attorneys for Plaintiff
25                                 ------------
26         Pursuant to the stipulation filed by the parties, and for the
27   reasons stated therein, IT IS HEREBY ORDERED that the status conference
28   currently scheduled for December 1, 2006, be continued until


     Stip. Continuing Status Conference        2
              Case 2:05-cr-00447-GEB Document 53 Filed 12/01/06 Page 3 of 3


1    January 19, 2007 at 9:00 a.m.
2          IT IS FURTHER ORDERED that the time period between December 1,
3    2006 and January 19, 2007, be excluded under the Speedy Trial Act (18
4    U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to
5    provide defense counsel with the reasonable time to prepare.
6    Dated:    December 1, 2006
7
8                                         GARLAND E. BURRELL, JR.
9                                         United States District Judge

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     Stip. Continuing Status Conference        3
